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               EXHIBIT J
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From:                          Emily Kirsch <emily.kirsch@kirschniehaus.com>
Sent:                          Friday, October 7, 2022 4:46 PM
To:                            Shen, Andrew C.
Cc:                            Kellogg, Michael K.; Rapawy, Gregory G.; Young, Christopher M.
Subject:                       RE: [EXTERNAL] RE: In re. 9/11



Andy:
Unfortunately, my call ran late.

We have reviewed your time and expenses and certainly have questions and concerns about the
reasonableness of the rates, the number of people involved, the number of tasks undertaken and
the number of hours spent on each task. But in light of our pending motion to stay now and our
forthcoming objections, our position is that because the Magistrate Judge’s opinion is incorrect in
finding that K&K was complicit in the leak or that its internal investigation was deficient, no fee
is reasonable. I am available if you still wish to discuss.

Emily


From: Shen, Andrew C. <ashen@kellogghansen.com>
Sent: Friday, October 7, 2022 12:29 PM
To: Emily Kirsch <emily.kirsch@kirschniehaus.com>
Cc: Kellogg, Michael K. <mkellogg@kellogghansen.com>; Rapawy, Gregory G. <grapawy@kellogghansen.com>; Young,
Christopher M. <cyoung@kellogghansen.com>
Subject: RE: [EXTERNAL] RE: In re. 9/11

Thank you. Please call me at            if your call ends early. If not, I can call you at around 5pm today or 1:30pm
on Monday.

From: Emily Kirsch <emily.kirsch@kirschniehaus.com>
Sent: Friday, October 7, 2022 12:24 PM
To: Shen, Andrew C. <ashen@kellogghansen.com>
Cc: Kellogg, Michael K. <mkellogg@kellogghansen.com>; Rapawy, Gregory G. <grapawy@kellogghansen.com>; Young,
Christopher M. <cyoung@kellogghansen.com>
Subject: RE: [EXTERNAL] RE: In re. 9/11

Technically, I’m booked until 4. I think my prior call will end early, so I’m happy to try to give
you a call at 3:30 if I free up.
Otherwise, I’m free from 4pm on and Monday is wide open (though it’s a holiday).


From: Shen, Andrew C. <ashen@kellogghansen.com>
Sent: Friday, October 7, 2022 11:54 AM
To: Emily Kirsch <emily.kirsch@kirschniehaus.com>
Cc: Kellogg, Michael K. <mkellogg@kellogghansen.com>; Rapawy, Gregory G. <grapawy@kellogghansen.com>; Young,

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Christopher M. <cyoung@kellogghansen.com>
Subject: RE: [EXTERNAL] RE: In re. 9/11

Hi Emily –

I have another call that starts at 4pm. I can do any time before that.

Thanks,

Andy

From: Emily Kirsch <emily.kirsch@kirschniehaus.com>
Sent: Friday, October 7, 2022 11:48 AM
To: Shen, Andrew C. <ashen@kellogghansen.com>
Cc: Kellogg, Michael K. <mkellogg@kellogghansen.com>; Rapawy, Gregory G. <grapawy@kellogghansen.com>; Young,
Christopher M. <cyoung@kellogghansen.com>
Subject: RE: [EXTERNAL] RE: In re. 9/11

How is 4pm?

From: Shen, Andrew C. <ashen@kellogghansen.com>
Sent: Friday, October 7, 2022 9:23 AM
To: Emily Kirsch <emily.kirsch@kirschniehaus.com>
Cc: Kellogg, Michael K. <mkellogg@kellogghansen.com>; Rapawy, Gregory G. <grapawy@kellogghansen.com>; Young,
Christopher M. <cyoung@kellogghansen.com>
Subject: Re: [EXTERNAL] RE: In re. 9/11

Emily ‐

I will be traveling on Monday and Tuesday. If you would like to discuss this, can you please propose a time today.

Thanks,

Andy


          On Oct 4, 2022, at 11:27 AM, Emily Kirsch <emily.kirsch@kirschniehaus.com> wrote:


          Andy –
          A quick review of this backup suggests that we do have meaningful questions and
          concerns about its reasonableness. However, it is unfortunate you waited until 8:00
          pm last night to provide this information. I simply don’t have time to digest it fully
          and engage in a constructive meet and confer with you before I need to leave the
          office mid-afternoon for Yom Kippur.

          If you choose to file your motion tomorrow (as ordered) and not seek an extension,
          please include this email to explain why we are unable to meet and confer.

          Regards,
          Emily
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From: Shen, Andrew C. <ashen@kellogghansen.com>
Sent: Monday, October 3, 2022 7:51 PM
To: Emily Kirsch <emily.kirsch@kirschniehaus.com>
Cc: Kellogg, Michael K. <mkellogg@kellogghansen.com>; Rapawy, Gregory G.
<grapawy@kellogghansen.com>; Young, Christopher M. <cyoung@kellogghansen.com>
Subject: RE: In re. 9/11

Emily –

I’ve attached spreadsheets of our time records and costs relating to Kreindler & Kreindler’s breach. We
have revised the amount of fees we are seeking to $1,390,281.50. The costs remain the same. Please
let us know if you would like to discuss.

Regards,

Andy

Andrew C. Shen
Kellogg, Hansen, Todd, Figel & Frederick P.L.L.C.
1615 M Street, N.W.
Suite 400
Washington, D.C. 20036
Direct: (202) 326‐7963
Fax: (202) 326‐7999

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applicable law.




From: Emily Kirsch <emily.kirsch@kirschniehaus.com>
Sent: Monday, October 3, 2022 12:43 PM
To: Shen, Andrew C. <ashen@kellogghansen.com>
Cc: Kellogg, Michael K. <mkellogg@kellogghansen.com>; Rapawy, Gregory G.
<grapawy@kellogghansen.com>; Young, Christopher M. <cyoung@kellogghansen.com>
Subject: [EXTERNAL] RE: In re. 9/11

Andy:
As you know, the Magistrate Judge ordered us to meet and confer on a reasonable
fee award. To that end, would you kindly send us the backup for those amounts and
we can have a productive call once we have had a chance to review.


From: Shen, Andrew C. <ashen@kellogghansen.com>
Sent: Saturday, October 1, 2022 9:57 AM
To: Emily Kirsch <emily.kirsch@kirschniehaus.com>
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Cc: Kellogg, Michael K. <mkellogg@kellogghansen.com>; Rapawy, Gregory G.
<grapawy@kellogghansen.com>; Young, Christopher M. <cyoung@kellogghansen.com>
Subject: In re. 9/11

Emily –

I write regarding the Court’s September 21, 2022 Order requiring Kreindler & Kreindler to pay Saudi
Arabia’s fees and costs associated with investigating and addressing Kreindler & Kreindler’s breach of
the Protective Orders. Saudi Arabia intends to seek $1,401,869.00 in fees and $36,504.42 in
costs. Please let us know whether Kreindler & Kreindler will agree to pay these amounts.

If you would like to discuss by phone, please let me know if you are available on Monday.

Thanks,

Andy

Andrew C. Shen
Kellogg, Hansen, Todd, Figel & Frederick P.L.L.C.
1615 M Street, N.W.
Suite 400
Washington, D.C. 20036
Direct: (202) 326‐7963
Fax: (202) 326‐7999

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